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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO .16-20897-CR-SEITZ

  UN ITED STA TES OF AM ER ICA ,

         Plaintiff,



  PIU N CESS CRU ISE LINES,LTD .,

         D efendant.


                             ORDER ON STATUS CONFERENCE

         THIS mattercam ebefore the Court,on July 11,2018,foraquarterly statushearing

  coinciding with theconclusion ofthefirstyearoftheperiod ofprobation.Upon consideration of

  the entirerecord,includingthesubmissionsofthepartiesandtheannualreportsofthe Court

  A ppointed M onitorand Third Party Auditor,itis

         O RDERED that:

                On orbeforeAugust1,2018,theDefendantwillconsultwith theinterested

  partiesand proposeaplan asto whetherandhow unannotmced auditsand ship visitsby the

  Third Party A uditorand CourtAppointed M onitorcan be facilitated.

         2.     ln responseto Defendant'sviolationsoftheEnviromnentalCompliancePlan

  (ECP),includingthecontinueduseofundisclosedpre-audittenms,theSpecialConditionsof
  ProbationandtheEnvironmentalComplir cePlan(ECP)areherebyamended withtheconsent
  ofthe partiesto include'
                         .

                a.     a11future audits and ship visits by the Third Party A uditorand C ourt

                A ppointed M onitorshallbe tm nnnounced;
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                b.     forthesecondyearofprobation,ten(10)additionalvesselauditsahd/or
                visitsby theThird Party Auditorand/orCourtAppointed M onitor;and

                c.     forthesecondyearofprobation,tève(5)additionalshoreauditsand/or
                visitsbytheThird Party Auditorand/orCourtAppointedM orlitor.

  Thepartiesarefurtherdirectedto conferand infonu the Courton orbeforeAùgust1,2018,

  regardingaplan astohow theseadditionalauditsand visitsWillbeconductedand by whom .

  A fterthe subm ission ofthe second yearam zualreports,the Courtwillreevaluatethe need forthe

  increased ship and shorevisits.

         3.     On orbefore September5,2018,theDefendantwillprovideaplan astohow

  Carnivaland itsbrandswilladdressthechallengeofcorporate stnzcturesetforth intheFirst

  AnnualReportoftheCourtAppointed M onitor,includingprioritizing and standardizing

  envirolzm entalcom plianceacrossthe com pany and establishing a Corporate Com pliance

  M anager with both responsibility and authority over environm entalpolicy and the

  Environm entalCom pliance Plan.

         4.     On orbeforeSeptem ber5,2018,theDefendantwillcèmpleteproduction of

  recordsresponsiveto thegovem m ent'spending docum entrequestsregardingtheship visit

  W ogfnm s.

                ThedateforthesubmissionofthenextQuarterlyReportbytheCourtAppointed
  M onitorshallbe'm oved from September 18,2018,to September21,2018.

         6.     By Septem ber 21,2018,the Defendantshallprovide a proposed tim eline for

  establishing and implem entingtherecomm endationsm adebythird party consultantsDNV-GL

  forimproving and standardizing Defendant'sinternalinvestigation processesacrossa1lbrands.



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                BeforethenextQuarterlyStatusConference,theappropriaterepresentativesfrom
  Defendantshallmeetand conferwith the CourtAppointedM onitorto discusshow the

  companies'long-tenn strategicplansareform ulatedand,specitk ally,to discusshow

  environm entalcompliancehasbeen m adepartofthoseplansand how protection ofthe

  environm entisbeing incorporated asapriorityinto thecompanies'strategicplansand culttu.ein

  a long-term ,sustainable m nnner.                         ..   .
                                                            'L
                                                             --
         DONEAND ORDERED inMiami,Florida,this/W dayofJuly,2018.
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                                           PA T CIA A .SE Z
                                           UN ITED STA TES D ISTRICT JUDG E


  CC*    A l1Cotm selofRecord




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